                     Case 1:08-cv-01734-MHS Document 1-1 Filed 05/13/08 Page 1 of 4

% A0 440 (Rev 8/01) S ummons m a Civit Action



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          YOU ARE HEREBY SUMMONED~ and, required to serve o n PLAINTIFF ' S ATTORNEY (name and address)

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 an answer to the complaint which is served on you with this summons, within "` ~ days after service
 of this summons on you, exclusive of the day of service . If you fail to do so, judgment by default will betaken against you
 for the relief demanded in the complaint . Any answer that you serve on the parties to this action must be filed with the
 Clerk of this Court within a reasonable period of time after service .




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                       Case 1:08-cv-01734-MHS Document 1-1 Filed 05/13/08 Page 2 of 4

SAO 440 (Rev 8/01) Summons in a Civil Action




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                     TO : (Name and address o f Defendant)




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              YOU ARE HEREBY SUMMONED and required to serve, on LAINTIFF ' S ATTORNEY (name and address)
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    ofthis summons on you, exclusive of the day of service If you fail to do so, judgment by default will betaken against you
    for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
    Clerk of this Court within a reasonable period of time after service.




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S AO 440 (Rev      8 10 1) S ummon s in a Civil Ac tion




( i ) A s i o,.a°ho m ay serve a summons see Rule 4 of the Federal Rules of C i v il Pro cedure
